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Fill in this information to identify your case:

                  Carl Hardcastle
Debtor 1          __________________________________________________________________
                    First Name                Middle Name              Last Name
                  Karen Hardcastle
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name                Middle Name              Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Maryland    District of __________
                                                                                   (State)
Case number         ___________________________________________
                     17-25045                                                                                                                  Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                     Surrender the property.                                         
                                                                                                                                          ✔ No
          name:           Ditech Financial, LLC
                                                                         Retain the property and redeem it.                               Yes
         Description of          284 Foxcatcher Drive, Myrtle Beach, SC
         property                                                        Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                       
                                                                                       ✔ Retain the property and [explain]:

                                                                                             ______________________________________
                                                                                             Continue to pay


         Creditor’s        CTF Asset Management, LLC                     Surrender the property.                                         
                                                                                                                                          ✔ No
         name:
                                                                         Retain the property and redeem it.                               Yes
         Description of          15018 Clear Spring Road, Williamsport,
         property                MD                                      Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                       
                                                                                       ✔ Retain the property and [explain]:
                                                                                              Continue to pay
                                                                                             ______________________________________

         Creditor’s      Ally Financial                                                
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No
         name:
                                 2006 GMC Envoy                                         Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s        Bulldog Federal Credit Union                                 Surrender the property.                          
                                                                                                                                          ✔ No
         name:
                                 15034 Clear Spring Road, Williamsport,                 Retain the property and redeem it.                Yes
         Description of
         property                MD                                                     Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                        ✔

                                                                                             ______________________________________
                                                                                              Continue to pay


  Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
                                     Case 17-25045             Doc 194          Filed 09/23/19       Page 2 of 2
Debtor
                     Carl Hardcastle & Karen Hardcastle
                    ______________________________________________________                                       17-25045
                                                                                             Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Carl Hardcastle
         ___________________________________________           /s/ Karen Hardcastle
                                                                  ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             09/23/2019
     Date _________________
                                                                        09/23/2019
                                                                   Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




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